    Fill in this information to identify the case:

    Debtor 1      MICHELE STANLEY

    Debtor 2
    (Spouse, if filing)

    United States Bankruptcy Court for the: Middle District of Pennsylvania

    Case number 5:21-bk-01647-MJC




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                         12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



  Name of creditor: HSBC Bank USA, National Association, as                   Court claim no. (if known): 4
  Trustee for Nomura Home Equity Loan, Inc., Asset-Backed
  Certificates, Series 2006-FM2

  Last four digits of any number you use to
  identify the debtor’s account: 3076

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
           No
           Yes. Date of the last notice:        /    _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


  Description                                                                    Dates incurred                               Amount

  1. Late charges                                                                                                   (1)   $ 0.00
  2. Non-sufficient funds (NSF) fees                                                                                (2)   $ 0.00
  3. Attorney’s fees (Plan Review)                                                  7/30/2021                       (3)   $ 250.00
  4. Filing fees and court costs                                                                                    (4)   $ 0.00
  5. Bankruptcy/Proof of claim fees                                                 8/25/2021                       (5)   $ 700.00
  6. Appraisal/Broker’s price opinion fees                                                                          (6)   $ 0.00
  7. Property inspection fees                                                                                       (7)   $ 0.00
  8. Tax advances (non-escrow)                                                                                      (8)   $ 0.00
  9. Insurance advances (non-escrow)                                                                                (9)   $ 0.00
 10. Property preservation expenses. Specify:                                                                   (10)      $ 0.00
 11. Other. Specify: Objection to Plan-Confirmation                                 9/8/2021                    (11)      $ 550.00
 12. Other. Specify:                                                                                            (12)      $ 0.00
 13. Other. Specify:                                                                                            (13)      $ 0.00
 14. Other. Specify:                                                                                            (14)      $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.

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 Case 5:21-bk-01647-MJC                      Doc Filed 12/16/21 Entered 12/16/21 16:06:19                                   Desc
                                             Main Document   Page 1 of 7
  Debtor1    MICHELE STANLEY                                             Case number (if known) 5:21-bk-01647-MJC
             First Name     Middle Name         Last Name




  Part 2: Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
  and telephone number.

  Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

       /s/Mario Hanyon
       Signature
                                                                                 Date 12/16/2021



  Print: Mario Hanyon (203993)
         First Name       Middle Name           Last Name                        Title Attorney



  Company Brock & Scott, PLLC

  Address 302 Fellowship Road, Ste 130
            Number               Street


            Mount Laurel, NJ 08054
            City                    State    ZIP Code


  Contact phone 844-856-6646 x4560                                               Email p a b k r @ b r o c k a n d s c o t t . c o m




Official Form 410S2                     Notice of Postpetition Mortgage Fees, Expenses, and Charges                                           page 2
 Case 5:21-bk-01647-MJC                      Doc Filed 12/16/21 Entered 12/16/21 16:06:19                                              Desc
                                             Main Document   Page 2 of 7
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                   Wilkes-Barre Division


IN RE:
MICHELE STANLEY                                     Case No. 5:21-bk-01647-MJC
                                                    Chapter 13
HSBC Bank USA, National Association, as Trustee
for Nomura Home Equity Loan, Inc., Asset-Backed
Certificates, Series 2006-FM2,
        Movant

vs.

MICHELE STANLEY,
     Debtor,




                                    CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice Of
Postpetition Mortgage Fees, Expenses, And Charges has been electronically served or mailed, postage
prepaid on this day to the following:

MICHELE STANLEY
109 SQUIRRELWOOD CT
EFFORT, PA 18330-7747

Patrick j Best, Debtor's Attorney
18 North 8th Street
Stroudsburg, PA 18360
patrick@armlawyers.com


Jack N Zaharopoulos, Bankruptcy Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036




Case 5:21-bk-01647-MJC         Doc Filed 12/16/21 Entered 12/16/21 16:06:19             Desc
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December 16, 2021
                                   /s/ Mario Hanyon
                                   Mario Hanyon
                                   (Bar No. 203993)
                                   Attorney for Creditor
                                   BROCK & SCOTT, PLLC
                                   302 Fellowship Road, Ste 130
                                   Mount Laurel, NJ 08054
                                   Telephone: 844-856-6646 x4560
                                   Facsimile: 704-369-0760
                                   E-Mail: pabkr@brockandscott.com




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                         Main Document   Page 4 of 7
                                                                                                             INVOICE
                                                                                                           Invoice #:
Brock & Scott, PLLC
1315 Westbrook Plaza Drive, Suite 100                                                                    Invoice Date: 07/30/2021
Winston-Salem, NC 27103
(336)354-1200 - phone                                                                                File Number:
(336)354-1206 - fax




Client:                                                                 Name and Address:

PHH Mortgage Corporation                                                Stanley, John and Michele
One Mortgage Way                                                        109 Squirrelwood Ct
Mount Laurel, NJ, 08054                                                 Woodbury, PA, 18330




 BK Case # and Chapter                    Loan #                  Loan Type           Investor #         Reason for Completion of Billing


          21-01647/13                                            Conventional                              Bankruptcy Services CH13


DESCRIPTION                                                                     CLASS                                    AMOUNT
Plan Review                                                                     Bankruptcy Plan Review                    250.00
   Service Date: 07/30/2021




Please include a copy of this invoice with your remittance to:
    1315 Westbrook Plaza Drive, Suite 100
    Winston-Salem, NC 27103
    EIN # XX-XXXXXXX                                                            Balance Due:                            250.00
                Case 5:21-bk-01647-MJC Doc
    E-Mail: AcctsRec@brockandscott.com
                                                           Filed 12/16/21 Entered 12/16/21 16:06:19                     Desc
                                                     Main Document     Page 5 of 7
                                                                                                             INVOICE
                                                                                                           Invoice #:
Brock & Scott, PLLC
1315 Westbrook Plaza Drive, Suite 100                                                                    Invoice Date: 08/26/2021
Winston-Salem, NC 27103
(336)354-1200 - phone                                                                               File Number:
(336)354-1206 - fax




Client:                                                                 Name and Address:

PHH Mortgage Corporation                                                Stanley, John and Michele
One Mortgage Way                                                        109 Squirrelwood Ct
Mount Laurel, NJ, 08054                                                 Woodbury, PA, 18330




 BK Case # and Chapter                    Loan #                  Loan Type          Investor #          Reason for Completion of Billing


          21-01647/13                                            Conventional                              Bankruptcy Services CH13


DESCRIPTION                                                                     CLASS                                    AMOUNT
Proof Of Claim                                                                  Bankruptcy POC                            700.00
   Service Date: 08/25/2021
410A Payment History Review - 410A / Payment History Review and prep            Bankruptcy POC                            250.00
fee.                                                                              BORROWER RECOVERABLE
     Service Date: 08/25/2021




Please include a copy of this invoice with your remittance to:
    1315 Westbrook Plaza Drive, Suite 100
    Winston-Salem, NC 27103
    EIN # XX-XXXXXXX                                                            Balance Due:                            950.00
                Case 5:21-bk-01647-MJC Doc
    E-Mail: AcctsRec@brockandscott.com
                                                           Filed 12/16/21 Entered 12/16/21 16:06:19                     Desc
                                                     Main Document     Page 6 of 7
                                                                                                            INVOICE
                                                                                                          Invoice #:
Brock & Scott, PLLC
1315 Westbrook Plaza Drive, Suite 100                                                                   Invoice Date: 09/09/2021
Winston-Salem, NC 27103
(336)354-1200 - phone                                                                               File Number:
(336)354-1206 - fax




Client:                                                                 Name and Address:

PHH Mortgage Corporation                                                Stanley, John and Michele
One Mortgage Way                                                        109 Squirrelwood Ct
Mount Laurel, NJ, 08054                                                 Woodbury, PA, 18330




 BK Case # and Chapter                    Loan #                  Loan Type          Investor #        Reason for Completion of Billing


          21-01647/13                                            Conventional                             Bankruptcy Services CH13


DESCRIPTION                                                                     CLASS                                   AMOUNT
Obj To Plan-Confirmation                                                        Bankruptcy OBJ                           550.00
   Service Date: 09/08/2021




Please include a copy of this invoice with your remittance to:
    1315 Westbrook Plaza Drive, Suite 100
    Winston-Salem, NC 27103
    EIN # XX-XXXXXXX                                                            Balance Due:                           550.00
                Case 5:21-bk-01647-MJC Doc
    E-Mail: AcctsRec@brockandscott.com
                                                           Filed 12/16/21 Entered 12/16/21 16:06:19                    Desc
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